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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

   IN RE:                                    )
   JAMES E. PATTERSON                        )
   SUSAN D. PATTERSON,                       )      CHAPTER 7
                     Debtors.                )      04-94268-JEM
   ___________________________________       )

    NOTICE OF PAYMENT OF FUNDS INTO THE REGISTRY OF THE COURT

           COMES NOW JANET G. WATTS, Chapter 7 Trustee, and, pursuant to 11
   U.S.C. §347 and FRBP 3011, hereby pays the sum of $15,082.71 into the registry of the
   court. Said sum represents the remaining check unpaid after 90 days. The check was
   neither cashed nor returned. The payee information is summarized as follows:

   Payee and Address                         Check No.     Amount        Memo

   1.     Department of the Treasury         108           $8,287.16   Unsecured
          Internal Revenue Service                            484.30   Interest
          401 W. Peachtree Street, N.W.                    $5,962.79   Priority
          Stop 334D                                           348.46   Interest
          Atlanta, GA 30308                                ______________________

          Total Combined Check                             $15,082.71



   DATED:        4/29/08                     /s/ Janet G. Watts
                 _________________           _______________________________
                                             JANET G. WATTS, Chapter 7 Trustee
   600 North Glynn Street, Suite C           Ga. Bar No. 632067
   Fayetteville, GA 30214 (770) 461-1320
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                                 CERTIFICATE OF SERVICE

          I, Janet G. Watts, certify that I am over the age of 18 and that on April 29, 2008, I
   served a copy of the foregoing Notice of Payment Into the Registry of the Court by
   placing same in the United States mail, first class, adequate postage prepaid, addressed as
   follows: Office of the United States Trustee, 362 Richard B. Russell Building, 75 Spring Street,
   SW, Atlanta, GA, 30303; Department of the Treasury, Internal Revenue Service, 401 W.
   Peachtree Street, NW, Stop 334D, Atlanta, GA, 30308; USA through IRS c/o US Attorney, 1800
   Richard B. Russell Building, 75 Spring Street, SW, Atlanta, GA, 30303; Melvyn R. Burrow,
   Attorney at Law,Suite 230, 131 Ponce de Leon, Atlanta, GA, 30308; James E. and Susan D.
   Patterson, 2159 Highview Road, SW, Atlanta, GA, 30311.

          This the 29th day of April, 2008.

                                                  /s/ Janet G. Watts
                                                  ________________________________
                                                  JANET G. WATTS
